        Case 6:24-cv-00603-MC         Document 1   Filed 04/09/24   Page 1 of 30



Tyler J. Storti, OSB #034695
tstorti@sokol-larkin.com
SOKOL, LARKIN, WAGNER & STORTI LLC
4380 S Macadam Ave, Suite 530
Portland, OR 97239
Telephone: (503) 221-0699
Facsimile: (503) 223-5706

Bryan K. Nowicki, pro hac vice forthcoming
Husch Blackwell LLP
33 East Main Street, Suite 300
Madison, WI 53703
Telephone: (608) 234-6012
Facsimile: (608) 258-7138

Attorneys for Plaintiff Partners in Care, Inc.

                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                    EUGENE DIVISION

PARTNERS IN CARE, INC., an Oregon
nonprofit corporation,                              Case No.

                                    Plaintiff,      COMPLAINT

       v.                                           (Complaint for Judicial Review of
                                                    Administrative Decision - 28 USC §
XAVIER BECERRA, in his official capacity as         1331; 42 USC § 1395ff(b); 5 U.S.C. §
Secretary of the United States Department of        551 et seq.)
Health & Human Services,

                                 Defendant.


       COMPLAINT FOR JUDICIAL REVIEW OF ADMINISTRATIVE DECISION

       Plaintiff PARTNERS IN CARE, INC. (the “Hospice”), by and through its
undersigned counsel, files this Complaint against Defendant XAVIER BECERRA, in his
official capacity as the Secretary of the United States Department of Health and Human
Services (the “Secretary”), seeking judicial review of the decision rendered by the
Medicare Appeals Council (“Council”) in Office of Medicare Hearings and Appeals
(“OMHA”) case number 3-11498188853 (Council docket number M-24-506).


COMPLAINT - 1
                                                                     SOKOL 5 LARKIN

                                                                     4380 S Macadam Ave., Suite 530
                                                                           Portland, OR 97239
                                                                             (503) 221-0699
                                                                           FAX (503) 223-5706
           Case 6:24-cv-00603-MC     Document 1      Filed 04/09/24    Page 2 of 30




                         PARTIES, JURISDICTION, AND VENUE
          1.   The Hospice is an Oregon non-profit corporation with its principal place of
business located at 2075 NE Wyatt Court, Bend, Oregon 97701.
          2.   The Hospice is a not-for-profit, tax-exempt organization as described in
Section 501(c)(3) of the Internal Revenue Code of 1986. See 26 U.S.C. §§ 501(a),
(c)(3).
          3.   At all times relevant hereto, the Hospice was a Medicare-certified
company offering hospice services in Oregon.
          4.   Defendant, Xavier Becerra, is the Secretary of the United States
Department of Health and Human Services (“HHS”) and the proper defendant in this
action pursuant to 42 C.F.R. § 405.1136(d)(1).
          5.   This action arises under the United States Constitution, Title XVIII of the
Social Security Act, 42 U.S.C. § 1395 et seq. (“Medicare Act”), and the Administrative
Procedure Act, 5 U.S.C. § 551 et seq. (the “APA”).
          6.   Prior to filing this Complaint, the Hospice filed appeals and received
determinations as to all issues presented below.
          7.   On September 13, 2023, an administrative law judge (“ALJ”) issued a
partially favorable decision in this matter. Following a referral issued November 14,
2023, by the Administrative Qualified Independent Contractor (“AdQIC”),
Q2Administrators, the Council decided on its own motion to review the ALJ’s decision.
See 42 C.F.R. § 405.1110. The Hospice filed Written Exceptions to the AdQIC’s referral
by submitting written comments to the Council on December 4, 2023, as permitted by
42 C.F.R. § 405.1110(b)(2). The Council issued a decision on February 9, 2024. The
Council’s decision is final and binding on all parties unless, in relevant part, a federal
district court modifies the Council’s decision. See 42 C.F.R. § 405.1130. Thus, the
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COMPLAINT - 2
                                                                        SOKOL       F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
          Case 6:24-cv-00603-MC        Document 1      Filed 04/09/24     Page 3 of 30




Council’s decision is the final administrative decision and is appealable to this Court
under 42 U.S.C. § 1395ff(b), 42 C.F.R. § 405.1130, and 42 C.F.R. § 405.1136.
       8.      Therefore, because the Hospice has exhausted all administrative appeals
and, thus, has no administrative remedy available to it, this Court is the proper forum to
hear this Complaint.
       9.      As mandated by 42 C.F.R. § 405.1130, this action has been commenced
within 60 days of receipt of the Council’s decision dated February 9, 2024.
       10.     Jurisdiction is proper pursuant to 28 U.S.C. § 1331, which vests federal
district courts with “original jurisdiction of all civil actions arising under the Constitution,
laws, or treaties of the United States,” and 42 U.S.C. § 1395ff(b), which authorizes
judicial review of the Council’s decision.
       11.     Venue is proper pursuant to 42 U.S.C. § 1395ff(b) and 42 C.F.R. §
405.1136(b)(1), as the Hospice’s principal place of business is located in this judicial
district. Pursuant to LR 3, divisional venue lies in the Eugene Division because a
substantial part of the events or omissions giving rise to the claim occurred in
Deschutes County, Oregon.
       12.     The amount in controversy exceeds the threshold amount of $1,840.00 for
judicial review set forth in 88 Federal Register 67297 (effective Jan. 1, 2024).
                LEGAL FRAMEWORK: PROCEDURAL DUE PROCESS
       13.     The Fifth and Fourteenth Amendments of the U.S. Constitution guarantee
rights to procedural due process. See U.S. Const. amend. V; U.S. Const. amend. XIV, §
1.
       14.     Procedural due process constrains “governmental decisions which deprive
individuals of ‘liberty’ or ‘property’ interests within the meaning of the Due Process
Clause of the Fifth or Fourteenth Amendment.” Mathews v. Eldridge, 424 U.S. 319, 332
(1976).


COMPLAINT - 3
                                                                           SOKOL       F LARKIN
                                                                           4380 S Macadam Ave., Suite 530
                                                                                 Portland, OR 97239
                                                                                   (503) 221-0699
                                                                                 FAX (503) 223-5706
          Case 6:24-cv-00603-MC      Document 1      Filed 04/09/24   Page 4 of 30




         15.   To demonstrate violation of procedural due process rights, a plaintiff must
show that they had “(1) a protectable liberty or property interest…; and (2) a denial of
adequate procedural protections.” Foss v. Nat’l Marine Fisheries Serv., 161 F.3d 584,
588 (9th Cir. 1998) (citing Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 569-
71 (1972); Mathews, 424 U.S. at 335).
         16.   To have a constitutionally protected property interest in a benefit, a person
clearly must have “a legitimate claim of entitlement to it.” Bd. of Regents of State
Colleges v. Roth, 408 U.S. 564 (1972).
         17.   To determine whether the procedures at issue were constitutionally
adequate, courts consider: (1) the private interest affected, (2) the government’s
interest, and (3) the risk of erroneous deprivation of the private interest under the
procedures used. Mathews, 424 U.S. at 335.
         18.   Hospices are statutorily entitled to be paid for services provided to
Medicare beneficiaries that meet Medicare program requirements. See 42 U.S.C. §
1395f.
         19.   The Health Care Financing Administration (the predecessor to the Centers
for Medicare and Medicaid Services (“CMS”)) has indicated that when challenging the
use of statistical sampling to project overpayments, providers can vindicate their rights
to procedural due process only if they have a “full opportunity to demonstrate that the
overpayment determination is wrong.” Health Care Fin. Admin., Use of Statistical
Sampling to Project Overpayments to Medicare Providers and Suppliers, Ruling No. 86-
1 (Feb. 20, 1986).
               LEGAL FRAMEWORK: THE MEDICARE HOSPICE BENEFIT
         20.   The Medicare Hospice Benefit is a benefit under Medicare Part A, a 100%
federally subsidized health insurance program. It is administered by CMS on behalf of
HHS. The Medicare Hospice Benefit pays a predetermined fee, based on the level of


COMPLAINT - 4
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
         Case 6:24-cv-00603-MC         Document 1      Filed 04/09/24    Page 5 of 30




care provided by the hospice provider, for each day an eligible individual receives
hospice care.
       21.      Through the Medicare Hospice Benefit, Medicare covers reasonable and
necessary hospice services provided to eligible individuals. Services available under the
Medicare Hospice Benefit are “comprehensive” and include (a) nursing care and
services provided by or under the supervision of a registered nurse, (b) medical social
services provided by a qualified social worker under the direction of a physician, (c)
physician services, (d) counseling services, including bereavement, dietary, and
spiritual counseling, (e) short-term inpatient care, (f) medical supplies, including drugs
and biologicals, (g) home health aide / homemaker services, and (h) physical,
respiratory, occupational, and speech therapy services. 42 C.F.R. § 418.202; see also
42 C.F.R. § 418.3; 42 U.S.C. § 1395x(dd).
       22.      CMS contracts with Medicare Administrative Contractors (“MACs”), which
are private companies that process and pay Medicare claims on behalf of CMS. Other
CMS divisions or contractors, such as the CMS Center for Program Integrity (“CPI”),
Zone Program Integrity Contractors (“ZPICs”), and Uniform Program Integrity
Contractors (“UPICs”) (which succeeded and replaced the ZPICs), were and are
authorized by CMS to audit claims for payment presented to Medicare by health care
providers relating to services they provided to Medicare beneficiaries. These audits
were and are performed on a post-payment basis to ensure that the claims complied
with Medicare coverage and documentation requirements at the time they were
submitted for reimbursement.
       23.      A Medicare contractor may, on its own motion, reopen and change its
initial determination within four years after the date of the initial determination, if it has
good cause to do so. 42 C.F.R. § 405.980(b)(2).
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COMPLAINT - 5
                                                                          SOKOL       F LARKIN
                                                                          4380 S Macadam Ave., Suite 530
                                                                                Portland, OR 97239
                                                                                  (503) 221-0699
                                                                                FAX (503) 223-5706
         Case 6:24-cv-00603-MC        Document 1    Filed 04/09/24   Page 6 of 30




       24.     In addition, HHS’s Office of Inspector General (“OIG”) audits health care
providers that participate in Medicare pursuant to its authority to “conduct and supervise
audits and investigations relating to the programs and operations” of HHS, including
compliance with Medicare requirements. 5 U.S.C. § 402(b)(1).
       25.     However, as the OIG itself has acknowledged in this very case, “OIG audit
recommendations do not represent final determinations by Medicare. CMS, acting
through a MAC or other contractor, will determine whether overpayments exist and will
recoup any overpayments consistent with its policies and procedures.” OIG, Medicare
Hospice Provider Compliance Audit: Partners In Care, Inc. 7 n.28 (July 2021). See also
42 U.S.C. § 1395kk-1(a)(4)(A) (describing determination of the payment amount as a
function of MACs).
       26.     If a CMS division, the OIG, or a CMS contractor audits and denies a claim,
the affected provider may avail itself of an administrative appeals process to contest the
claim denial(s). This appeals process consists of five stages: (1) redetermination, (2)
reconsideration, (3) a hearing before an ALJ, (4) review by the Council, and (5) judicial
review by a federal district court.
       27.     Requests for redetermination are processed by MACs. Requests for
reconsideration are handled by separate contractors known as Qualified Independent
Contractors (“QICs”). Hearing requests are adjudicated by ALJs in OMHA.
       28.     AdQICs review ALJ decisions. If the AdQIC believes an ALJ decision
contains a material error of law, the AdQIC may refer the decision to the Council, which
is a component of the HHS Departmental Appeals Board. See 42 C.F.R. § 405.1110(b).
Parties to the ALJ decision may file exceptions to the referral by submitting written
comments to the Council. See 42 C.F.R. § 405.1110(b)(2). The Council may then
decide to review the case “on its own motion” and issue a decision. See 42 C.F.R. §
405.1110(a).


COMPLAINT - 6
                                                                      SOKOL       F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
        Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 7 of 30




       29.    However, when the Council reviews an ALJ’s decision based on a referral
from CMS or a CMS contractor, the Council must “limit its consideration of the
ALJ’s…action to those exceptions raised by CMS.” 42 C.F.R. § 405.1110(c).
     LEGAL FRAMEWORK: STATISTICAL SAMPLING AND EXTRAPOLATION
       30.    The “purpose” of Medicare program integrity audits is “identifying
underpayments and overpayments and recouping overpayments,” according to Section
1893(h)(1) of the Act, codified at 42 U.S.C. § 1395ddd(h)(1). See also 42 C.F.R. §
455.504 (defining the Medicare recovery audit contractor program as a program “to
identify underpayments and overpayments and recoup overpayments”). An
underpayment is defined as including “[n]onpayment, where payment was due but was
not made.” 20 C.F.R. § 416.536.
       31.    CMS sets forth instructions on performing statistical sampling and
extrapolation in the Medicare Program Integrity Manual (“MPIM”), CMS Pub. No. 100-
08. The purpose of these instructions is “to ensure that a probability sample drawn from
the sampling frame of the target population yields a valid estimate of an overpayment in
the target population.” MPIM § 8.4.1.1.
       32.    ALJs are bound by “[a]ll laws and regulations pertaining to the Medicare
and Medicaid programs,” according to 42 C.F.R. § 405.1063(a). ALJs are not bound by
“CMS program guidance, such as program memoranda and manual instructions, but will
give substantial deference to these policies if they are applicable to a particular case.”
42 C.F.R. § 405.1062(a).
       33.    However, the MPIM’s statistical sampling and extrapolation guidelines are
entitled only to Skidmore deference. Rio Home Care, LLC v. Azar, No. 7:17-CV-116,
2019 WL 1411805, at *26 (S.D. Tex. Mar. 11, 2019). In addition, because the MPIM has
not been promulgated as a regulation by HHS, it cannot “establish[] or change[] a
substantive legal standard governing the scope of benefits, the payment for services, or


COMPLAINT - 7
                                                                      SOKOL        F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
         Case 6:24-cv-00603-MC         Document 1      Filed 04/09/24    Page 8 of 30




the eligibility of individuals, entities, or organizations to furnish or receive services or
benefits” through the Medicare program. 42 U.S.C. § 1395hh(a)(2).
       34.       Further, the MPIM itself intends auditors to base their statistical sampling
and extrapolation methodology on generally accepted statistical principles as well as the
MPIM. See MPIM § 8.4.1.5 (“The sampling methodology used in estimations of
overpayments must be reviewed and approved by a statistician or by a person with
equivalent expertise in probability sampling and estimation methods. This is done to
ensure that a statistically appropriate sample is drawn, and that appropriate methods for
estimating the overpayments are followed.”).
       35.       The auditor begins the sampling process by drawing from the data set the
universe of claims, which “will consist of all fully and partially paid claims submitted by
the provider/supplier for the period under review.” MPIM § 8.4.3.2.1.
       36.       From the universe, the auditor will next select the sampling frame—a list
of “all the possible sampling units from which the sample is selected.” MPIM § 8.4.3.2.3.
       37.       The auditor then uses a sampling process to choose the sample from the
sampling frame. See MPIM § 8.4.4.1.
       38.       After the sample is chosen, each claim in the sample is reviewed to
determine whether the claim was paid appropriately, underpaid, or overpaid. See MPIM
§ 8.4.6.3 (requiring auditors to document “the amount of all overpayments and
underpayments and how they were determined.”). These results are used to calculate
an error rate.
       39.       If extrapolation is used, the error rate is extrapolated across the universe
to estimate total overpayment amount. See MPIM § 8.2.1.1 (“A projected overpayment
is the numeric overpayment obtained by projecting an overpayment from statistical
sampling for overpayment estimation to all similar claims in the universe under
review.”).


COMPLAINT - 8
                                                                          SOKOL       F LARKIN
                                                                          4380 S Macadam Ave., Suite 530
                                                                                Portland, OR 97239
                                                                                  (503) 221-0699
                                                                                FAX (503) 223-5706
        Case 6:24-cv-00603-MC          Document 1   Filed 04/09/24    Page 9 of 30




      40.    However, Section 1893(f)(3) of the Act, codified at 42 U.S.C. §
1395ddd(f)(3), prohibits Medicare auditors from using extrapolation unless HHS has
determined there is a “sustained or high level of payment error” or failure of educational
efforts to correct such errors. Accordingly, MPIM § 8.4.1.2 emphasizes that Section
1893(f)(3) “mandates that before using extrapolation…to determine overpayment
amounts…, there must be a determination of sustained or high level of payment error,
or documentation that educational intervention has failed to correct the payment error”
(emphasis added).
      41.    Under MPIM § 8.4.1.4, means of determining a sustained or high level of
payment error include:
             a. “high error rate determinations by the contractor or by other medical
                reviews (i.e., greater than or equal to 50 percent from a previous pre- or
                post-payment review)”
             b. “provider/supplier history (i.e., prior history of non-compliance for the
                 same or similar billing issues, or historical pattern of non-compliant
                 billing practices)”
             c. “CMS approval provided in connection to a payment suspension”
             d. “information from law enforcement investigations”
             e. “allegations of wrongdoing by current or former employees of a
                 provider/supplier”
             f. “audits or evaluations conducted by the OIG”
      42.    Under Section 1893(f)(3) of the Act and MPIM § 8.4.1.2, the determination
of a high level of payment error is not subject to review. However, Section 1893(f)(3)’s
prohibition against review violates providers’ due process rights. In another recent case,
another provider challenged the use of extrapolation by arguing that the Defendant’s
use of extrapolation without giving providers a meaningful process to challenge it


COMPLAINT - 9
                                                                      SOKOL        F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1        Filed 04/09/24   Page 10 of 30




violates providers’ due process rights. See Complaint at 11–16, Merit Leasing Co. v.
Becerra, No. 1:23-CV-859 (N.D. Ohio Apr. 24, 2023). The Defendant settled with the
provider by agreeing to pay 88% of the amount owing to the extrapolation. See id. at 3–
4 (stating that after appeals, the alleged overpayment for claims in the sample was
$37,304.69 and the total overpayment demand following extrapolation was
$417,275.00); Stipulation of Settlement at 2, Merit Leasing Co. v. Becerra, No. 1:23-CV-
859 (N.D. Ohio Mar. 7, 2024) (stating that the Defendant agreed to settle by paying
$335,000.00).
       43.    Even if Section 1893(f)(3) did not violate providers’ due process rights,
neither Section 1893(f)(3) nor MPIM § 8.4.1.2 indicates that the question of whether the
auditor ever made such a determination before deciding to extrapolate is likewise
unreviewable.
       44.    Further, under both generally accepted statistical principles and the MPIM,
statistical samplings are invalid if they do not result in a probability sample. See MPIM §
8.4.2. A probability sample is one in which each sample, and each unit of each possible
sample, has “a known probability of selection.” Id.
       45.    Relatedly, auditors must “document all steps taken in the random
selection process exactly as done to ensure that the necessary information is available
for anyone attempting to replicate the sample selection,” MPIM § 8.4.4.2, and “maintain
complete documentation of the sampling methodology that was followed,” MPIM §
8.4.4.4. This includes documenting the universe definition and elements, period
covered, sampling unit definitions and identifiers, dates of service, source, sampling
frame, and the random numbers used and how they were selected. MPIM § 8.4.4.4.1.
This same section requires that sufficient documentation be kept so that the sampling
frame can be re-created if the methodology is challenged. Id.
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COMPLAINT - 10
                                                                        SOKOL       F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 11 of 30




       46.    The Medicare Appeals Council has reversed extrapolations because the
auditor failed to maintain documentation necessary to replicate the sampling process,
emphasizing its importance to providers’ due process rights. See, e.g., Glob. Home
Care, Inc., M-11-116, at 4 (Medicare Appeals Council Jan. 11, 2011) (“The sampling
frame cannot be recreated from the documentation present. Without this basic
documentation, a provider does not have the information and data necessary to mount
a due process challenge to the statistical validity of the sample, as is its right under
CMS Ruling 86-1.”); Podiatric Med. Assocs., M-10-230, at 20 (Medicare Appeals
Council June 22, 2010) (“It is well-established that due process affords an appellant
provider the right to examine audit results in order to mount a proper challenge in the
appeals process….Absent supporting evidence, the appellant is deprived of its ability to
review the extrapolation in question.”).
       47.    When creating the sampling frame, auditors must include potential
underpayments. In accordance with the statutory requirement to identify both
underpayments and overpayments, as set forth in Section 1893(h)(1) of the Act, many
sections of the MPIM require auditors to net underpayments against overpayments
when estimating the total overpayment amount. See, e.g., MPIM § 8.4.5.2 (“Sampling
units that are found to be underpayments, in whole or in part, are recorded as negative
overpayments and shall be used in calculating the estimated overpayment.”); MPIM §
8.4.1.3 (stating that one of the eight “major steps in conducting statistical sampling” is
“[e]xamining each of the sampling units and determining if there was an overpayment or
an underpayment” (emphasis added)). For Corporate Integrity Agreements, the OIG
itself has recently begun to explicitly require the inclusion of underpayments to calculate
the overpayment demand. See OIG, HHS, Corporate Integrity Agreement Between the
Office of Inspector General of the Department of Health and Human Services and CHC-
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COMPLAINT - 11
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1     Filed 04/09/24    Page 12 of 30




FLA, LLC, App’x B, at 1 (Sept. 26, 2022),
https://www.oig.hhs.gov/fraud/cia/agreements/CHC-FLA_Inc_09262022.pdf.
       48.    Auditors must also take care in determining the sample size, which has “a
direct bearing on the precision of the estimated overpayment.” MPIM § 8.4.4.3.
Accordingly, the MPIM instructs auditors not to choose a sample size arbitrarily but to
consider multiple factors to determine the sample size. See id. (“It is neither possible
nor desirable to specify a minimum sample size that applies to all situations.”)
       49.    Although the MPIM does not set a threshold for an acceptable precision,
at the time this audit began, the OIG itself required a precision higher than 25% for its
Medicare claim reviews conducted against providers with whom it has Corporate
Integrity Agreements, unless the OIG used RAT-STATS or equivalent statistical
software to choose the sample size. In addition, another federal district court case
invalidated a contractor sampling and extrapolation because the precision of 32.5% was
unacceptably high (a higher percentage reflecting a worse precision). See Central
Louisiana Home Health Care, L.L.C. v. Price, No. 1:17-CV-00346, 2018 WL 7888523, at
*20 (W.D. La. Dec. 28, 2018).
                                STATEMENT OF FACTS
       50.    The Hospice is a not-for-profit hospice that serves rural communities in
Central Oregon. It is the primary independent, non-hospital-based hospice in the area,
with only one other hospice in the area whose patient census is just 10% of that of the
Hospice’s. The Hospice has continuously served terminally ill individuals and their
families in the state since its founding in 1979. Currently, the Hospice provides hospice
services, including Medicare-covered hospice services, to Oregonians across 5
counties.
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COMPLAINT - 12
                                                                      SOKOL        F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
        Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 13 of 30




       51.    In a letter sent to the Hospice on May 30, 2018, the OIG, on behalf of
CMS, informed the Hospice of its intention to audit sampled claims related to services
provided by the Hospice between January 1, 2016, and December 31, 2017.
       52.    The OIG subsequently requested medical and billing records from the
Hospice pertaining to a “random sample” of 100 claims (for which the Hospice had been
paid $478,696 by CMS) out of 5,779 claims (for which the Hospice had been paid
$27,319,955 by CMS) the Hospice submitted to CMS for payment for services provided
from January 1, 2016, through December 31, 2017. The Hospice promptly complied
with this request and provided the OIG with thousands of pages of responsive records
for review.
       53.    In a draft report dated November 2020 (“Draft Report”), the OIG informed
the Hospice that for 47 of the 100 claims reviewed, the clinical record did not support
that the patients were terminally ill (43 claims) or did not support the level of care
provided (4 claims). Based on an extrapolation of the sample results, the OIG estimated
that the Hospice received approximately $11.2 million in unallowable Medicare
reimbursement for hospice services. The Draft Report further recommended that the
Hospice refund to Medicare the portion of the estimated $11,278,891 attributable to the
claims that did not comply with Medicare requirements and fell within the four-year
reopening period.
       54.    The Hospice responded to the Draft Report in a letter dated January 22,
2021. The response refuted the findings and recommendations set forth in the OIG’s
Draft Report by, among other things, providing rebuttal statements supporting clinical
eligibility for 45 out of the 47 allegedly non-compliant claims. The response also
included a report (dated January 21, 2021) prepared by statistical expert R. Mitchell
Cox, Ph.D., identifying numerous flaws in the OIG’s sampling and extrapolation
methodology.


COMPLAINT - 13
                                                                        SOKOL       F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 14 of 30




       55.    In its final report dated July 2021 (“Final Report”), the OIG maintained the
validity of its findings, recommendations, and sampling and extrapolation methodology.
       56.    By the time the OIG issued its Final Report, several claims fell outside
four-year the reopening window. The Hospice’s MAC, National Government Services,
Inc. (“NGS”), recalculated the OIG’s extrapolation by first setting all claims falling
outside the reopening window to zero dollars. The Hospice then received a demand
letter from NGS, dated August 16, 2021, asserting that the Hospice must refund to
Medicare an overpayment amount of $2,286,313.00.
       57.    The Hospice initiated an appeal of the OIG’s Final Report and NGS’s
demand letter through the Medicare administrative appeals process. On December 9,
2021, the Hospice filed a request for redetermination with NGS, seeking review of the
13 denied claims within the four-year reopening period. The redetermination request
included rebuttal statements prepared by board-certified hospice physicians Edward
Martin, MD, MPH, FACP, FAAHPM, and John Mulder, MD, MS, HMDC, FAAHPM, and
a statistical expert report (dated December 8, 2021) revised by Dr. Cox in response to
NGS’s demand letter.
       58.    In its redetermination decision dated February 4, 2022, NGS upheld the
denial of all 13 claims at issue.
       59.    On July 28, 2022, the Hospice filed a request for reconsideration. The
reconsideration request included updated physician clinical summaries prepared by
either Dr. Martin or Dr. Martin, as well as a revised statistical expert report (dated
December 8, 2022) and reply to NGS’s redetermination decision (dated July 25, 2022)
by Dr. Cox.
       60.    In its reconsideration decision dated September 27, 2022, C2C decided
one claim favorably and another claim partially favorably. C2C upheld the denial of the
remaining 11 claims.


COMPLAINT - 14
                                                                        SOKOL       F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1      Filed 04/09/24    Page 15 of 30




       61.    On November 21, 2022, the Hospice filed a request for hearing before an
ALJ, seeking review of all 12 remaining denied claims. On January 10, 2023, the
Hospice received notice that the appeal would be adjudicated by ALJ Eli Bruch.
       62.    In advance of the scheduled ALJ hearing, on June 14, 2023, the Hospice
submitted a position statement to ALJ Bruch. The position statement summarized
certain relevant legal, medical, and statistical authorities that supported the propriety of
the claims at issue and demonstrated the invalidity of the OIG’s sampling methodology
and extrapolation.
       63.    The position statement also introduced the Hospice’s expert witnesses,
including clinical experts Dr. Martin and Dr. Mulder and statistical expert Dr. Cox. In
addition, the position statement included the written testimony of the Hospice’s medical
director, Lisa Lewis, MD, HMDC, and associate medical director, Jennifer Blechman,
MD, HMDC, FAAHPM, confirming that the medical records supported the original
eligibility and level-of-care determinations they or the other hospice physicians made
with respect to the claims at issue. Also included was a statistical expert reply to C2C’s
reconsideration decision (dated April 4, 2023) by Dr. Cox.
       64.    The hearing took place before ALJ Bruch on June 21, 2023. No party
other than the Hospice appeared at the hearing.
       65.    At the hearing, Drs. Martin, Mulder, Lewis, and Blechman provided
medical opinion testimony on behalf of the Hospice and were the only expert physician
witnesses to testify. Dr. Cox, the only expert statistician to testify, explained how, based
on his thorough analysis of the statistical sampling and extrapolation materials received
from the OIG and NGS, the sampling and extrapolation were statistically invalid.
       66.    Based on the unrefuted expert medical opinion testimony supporting the
propriety of the claims at issue, ALJ Bruch issued a decision on September 13, 2023,
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COMPLAINT - 15
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1     Filed 04/09/24    Page 16 of 30




that upheld the denial of only 4 of the appealed claims, issuing fully favorable decisions
regarding all the other appealed claims.
       67.    ALJ Bruch also found that the statistical sampling and extrapolation
methodology was invalid, citing three reasons: (1) the inclusion of claims from before
the four-year reopening period in the universe of claims, (2) the OIG’s insufficient
prospective documentation of the planned sampling process, and (3) the exclusion from
the sampling frame of claims paid less than $1,000 (but more than $0).
       68.    ALJ Bruch opined that each of these three failures was sufficient by itself
to invalidate the statistical sampling and extrapolation. See ALJ Decision at 21 (“The
combined effect of these failures, and the individual failures themselves, rises to a level
beyond a mere failure to follow steps, but demonstrably and irreparably affects the
validity of the statistical sample as drawn and conducted. See MPIM, ch. 8, § 8.4.1.1.”)
(emphasis added).
       69.    ALJ Bruch also agreed in principle with the Hospice’s argument that the
overpayment estimate should be offset by amounts otherwise payable under Medicare
Part B or Part D. See ALJ Decision at 21 (“Appellant makes compelling arguments
regarding the structure [of] Medicare regulations, specifically surrounding hospice care
and statistical sampling.”) However, ALJ Bruch stated that the administrative appeals
process was not the proper forum because it is “not one of general jurisdiction.” Id.
       70.    As a result of ALJ Bruch’s decision, the payment error rate now stands at
only 4.6%, far below the 50% threshold required for extrapolation.
       71.    On November 14, 2023, Q2Administrators referred the ALJ’s decision to
the Council for review on CMS’s own motion. In the referral, Q2Administrators raised
exceptions related only to two issues: the ALJ’s determinations that (1) the OIG’s
insufficient sampling plan and (2) the universe’s inclusion of claims outside the four-year
reopening period invalidated the sampling and extrapolation.


COMPLAINT - 16
                                                                      SOKOL        F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
          Case 6:24-cv-00603-MC         Document 1   Filed 04/09/24   Page 17 of 30




       72.     On December 4, 2023, the Hospice submitted to the Council Written
Exceptions to Q2Administrators’ referral, requesting that the Council refrain from
reviewing the case on its own motion. The Hospice’s Written Exceptions also explained
why ALJ Bruch’s favorable conclusions regarding the statistical sampling and
extrapolation were correct and why his unfavorable conclusions regarding the same
were incorrect. The Hospice’s Written Exceptions are attached hereto as Exhibit A and
incorporated herein by reference.
       73.     On February 9, 2024, the Council issued a Notice of Own Motion Review
and Decision. The Council’s decision found that the statistical sampling and
extrapolation methodology were valid. To reach that conclusion, the Council rejected
not only the two issues that Q2Administrators raised in its referral but also all the other
reasons identified by ALJ Bruch for invalidating the statistical sampling and
extrapolation methodology and the arguments the Hospice raised in the position
statement it submitted to ALJ Bruch and in its Written Exceptions.
       74.     The Hospice has thus exhausted its administrative remedies, and this
case is eligible for judicial review.
       75.     This Complaint is timely filed within 60 calendar days after the Hospice
received notice of the Council’s decision. See 42 C.F.R. § 405.1130.
                                 FIRST CLAIM FOR RELIEF
                      VIOLATION OF THE SOCIAL SECURITY ACT
                 The Use of Extrapolation Violated Section 1893(f)(3).
       76.     The Hospice hereby incorporates by reference paragraphs 1 through 75
herein.
       77.     The Defendant’s use of extrapolation violated Section 1893(f)(3) of the
Act. The Defendant did not make a determination that there was a “sustained or high
level of payment error” before deciding to extrapolate. In fact, the OIG tacitly admitted


COMPLAINT - 17
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1      Filed 04/09/24    Page 18 of 30




as much. In its final report, the OIG stated, “the MPIM requirement that a determination
of a sustained or high level of payment errors must be made before extrapolation
applies only to Medicare contractors—not OIG.” OIG, Medicare Hospice Provider
Compliance Audit: Partners In Care, Inc. 13 (July 2021).
        78.   NGS also tacitly admitted that it never made the determination of a
sustained or high level of payment error. In correspondence sent to CMS on March 26,
2024, counsel for the Hospice cited Section 1893(f)(3) and wrote, “it appears nobody at
CMS or the MAC made the determination of a sustained or high level of payment error.
If that is incorrect, let us know.” NGS’s response, dated March 27, 2024, stated, “The
OIG used the extrapolation to determine the overpayment amounts. This section
[Section 1893(f)(3)] would not be applicable to NGS.” See Exhibit B. Thus, by their own
admission, neither the OIG nor NGS ever made a determination of a sustained or high
level of payment error.
        79.   Further, NGS’s response shows that it misinterprets the OIG’s audit as a
final determination of overpayment, which the OIG explicitly stated it was not. CMS is
responsible for ensuring that NGS performs its responsibilities in compliance with the
law.
        80.   In addition, although the MPIM states that “audits or evaluations
conducted by the OIG” are one possible criterion that may be used to determine a
sustained or high level of payment error,” this blatantly conflicts with the statute. The
simple fact that the OIG is performing a review cannot establish that a payment error is
high.
        81.   The payment error rate in this audit is 4.6%, well below Defendant’s 50%
threshold for extrapolation.
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COMPLAINT - 18
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
          Case 6:24-cv-00603-MC        Document 1   Filed 04/09/24    Page 19 of 30




       82.     Because the use of extrapolation violated Section 1893(f)(3) of the Act,
this Court should declare that the extrapolation was statutorily unauthorized and should
enjoin the Defendant from using extrapolation in this case.
                              SECOND CLAIM FOR RELIEF
                        VIOLATION OF THE MEDICARE
                 OVERPAYMENT AND PROCEDURAL REGULATIONS

             The Council Overstepped Its Regulatory Authority in Deciding
                                a Non-Referred Issue

       83.     The Hospice hereby incorporates by reference paragraphs 1 through 82
herein.
       84.     ALJ Bruch gave three independent reasons for finding that the statistical
sampling and extrapolation was invalid: (1) the inclusion of claims from before the four-
year reopening period in the universe of claims, (2) the OIG’s insufficient prospective
documentation of the planned sampling process, and (3) the exclusion from the
sampling frame of claims paid less than $1,000 (but more than $0).
       85.     In its referral, Q2Administrators raised exceptions only regarding the first
two issues. It identified no error of law regarding ALJ Bruch’s decision that the exclusion
from the sampling frame of claims paid less than $1,000 invalidated the sampling and
extrapolation.
       86.     In its decision, however, the Council attempted to reverse ALJ Bruch’s
decision regarding all three issues.
       87.     In purporting to reverse ALJ Bruch’s decision that the exclusion from the
sampling frame of claims paid less than $1,000—which Q2Administrators did not raise in
its referral—the Council violated the regulatory command that the Council “limit its
consideration of the ALJ’s…action to those exceptions raised by CMS.”
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COMPLAINT - 19
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1      Filed 04/09/24    Page 20 of 30




       88.    As a result, ALJ Bruch’s conclusion that the exclusion of claims paid less
than $1,000 invalidates the sampling and extrapolation is the Defendant’s final decision
on the matter.
       89.    Because the Council overstepped its regulatory authority in deciding a
non-referred issue, this Court should reverse the Council’s decision that the sampling
and extrapolation were valid.
 The Inclusion of Claims Outside the Reopening Period Violated the Regulations.
       90.    The Hospice hereby incorporates by reference paragraphs 1 through 89
herein.
       91.    The Medicare overpayment and procedural regulations limit a CMS
contractor’s authority to reopen claims more than four years after the initial
determination. See 42 C.F.R. § 405.980(b)(2).
       92.    By the time the OIG issued its Final Report, several claims fell outside the
four-year the reopening window. Although NGS recalculated the OIG’s extrapolation by
first setting all claims falling outside the reopening window to zero dollars, the result was
that the Defendant applied statistical sampling and extrapolation to a universe that
included claims outside the regulatory reopening period. Thus, the Defendant
demanded repayment for claims outside the reopening period, violating the Medicare
overpayment and procedural regulations.
       93.    Because the Defendant’s application of statistical sampling and
extrapolation to a universe that included claims outside the regulatory reopening period
violated Medicare overpayment and procedural regulations, this Court should reverse
the Council’s decision that the sampling and extrapolation were valid.
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COMPLAINT - 20
                                                                       SOKOL       F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1     Filed 04/09/24   Page 21 of 30




                              THIRD CLAIM FOR RELIEF
                        VIOLATION OF THE MEDICARE ACT
                      AND ADMINISTRATIVE PROCEDURE ACT

                 The Council’s Decision Is Arbitrary and Capricious
       94.    The Hospice hereby incorporates by reference paragraphs 1 through 93
herein.
       95.    Under the Administrative Procedure Act, courts must set aside agency
actions and decisions that are “arbitrary, capricious, an abuse of discretion, or otherwise
not in accordance with law.” 5 U.S.C. § 706(2)(A).
       96.    The Council’s decision is arbitrary, capricious, an abuse of discretion, and
otherwise not in accordance with law in several respects. These include, without
limitation:
              a. The Council’s decision that the inclusion of claims paid less than
                 $1,000 in the sampling frame does not invalidate the universe blatantly
                 and unreasonably contradicts Medicare program integrity statues and
                 regulations and the Defendant’s own guidance, all of which require
                 auditors to net underpayments against overpayments when estimating
                 the total overpayment amount.
              b. The Council concluded that the OIG’s documentation of its sampling
                 process was sufficient, even though there was no evidence that the
                 OIG chose all the parameters needed to produce the sample before
                 beginning the sampling process. The Council’s decision perversely
                 enables auditors to run multiple samples and choose the one likely to
                 generate the highest overpayment estimate.
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COMPLAINT - 21
                                                                     SOKOL        F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1     Filed 04/09/24   Page 22 of 30




              c. The Council’s decision that the application of statistical sampling and
                 extrapolation to a universe that included claims outside the reopening
                 period renders the regulatory window meaningless.
       97.    Because the Council’s decision is arbitrary, capricious, an abuse of
discretion, and otherwise not in accordance with law, this Court should reverse the
Council’s decision that the sampling and extrapolation were valid and should enjoin the
Defendant from using extrapolation in this case.
      The Council Erred in Upholding the ALJ’s Unfavorable Determinations
       98.    The Hospice hereby incorporates by reference paragraphs 1 through 97
herein.
       99.    ALJ Bruch’s unfavorable decisions regarding the statistical sampling and
extrapolation were not supported by substantial evidence in that they:
              a. Failed to address whether the OIG ever made a determination of a high
                 level of payment error;
              b. Determined that the high precision, inclusion of dependent claims, and
                 exclusion of zero-paid claims did not invalidate the statistical sampling
                 and extrapolation; and
              c. Failed to determine that the overpayment estimate should be offset by
                 amounts otherwise payable under Medicare Part B or Part D.
       100.   This Court should reverse the Council’s decisions upholding the ALJ’s
unfavorable clinical and statistical determinations.
                             FOURTH CLAIM FOR RELIEF
           VIOLATION OF THE MEDICARE PROGRAM INTEGRITY MANUAL
       101.   The Hospice hereby incorporates by reference paragraphs 1 through 100
herein.
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COMPLAINT - 22
                                                                     SOKOL        F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
        Case 6:24-cv-00603-MC       Document 1     Filed 04/09/24    Page 23 of 30




        102.   The MPIM intends auditors to base their statistical sampling and
extrapolation methodology on generally accepted statistical principles as well as the
MPIM.
        103.   The Defendant violated generally accepted statistical principles and the
MPIM in multiple ways, including without limitation:
               a. Neither the OIG nor CMS ever made a determination of a sustained or
                   high level of payment error before the audit began. Rather, the
                   Defendant decided to extrapolate before making a determination of a
                   sustained or high level of payment error, violating MPIM § 8.4.1.2 (as
                   well as Section 1893(f)(3) of the Act). In addition, the Defendant may
                   not extrapolate in the same review that supposedly determines a high
                   level of error. As MPIM § 8.4.1.4 states, extrapolation cannot be used
                   until there has been a “previous… review” showing a high error rate
                   (emphasis added).
               b. The statistical sampling was invalid because it did not result in a
                   probability sample. The OIG failed to produce any evidence showing
                   that it decided how to order the claims within the sampling frame or
                   chose the random number seed before beginning the sampling
                   process. As a result, neither each sample nor each unit of each
                   sample had “a known probability of selection” when sampling began,
                   as required by generally accepted statistical principles and MPIM §
                   8.4.2. Because it did not result in a probability sample, the sampling
                   was invalid.
               c. By failing to produce evidence that all the parameters needed to
                   produce the sample were chosen before sampling began, auditors
                   can run multiple samples and choose the one likely to generate the


COMPLAINT - 23
                                                                      SOKOL        F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
      Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 24 of 30




                 highest overpayment estimate. In such circumstances, providers
                 would be highly unlikely to be able to detect and prove such activity.
           d. According to the OIG’s sampling plan, the OIG removed all claims
                 paid less than $1,000, including claims paid zero dollars, from the
                 sampling frame. Statistically, exclusion of claims paid less than
                 $1,000 served only to artificially inflate the overpayment estimate.
                 This also violated the many sections of the MPIM that require auditors
                 to net underpayments against overpayments when estimating the total
                 overpayment amount (as well as the statutory command to identify
                 underpayments as well as overpayments).
           e. Instead of using statistical software or considering multiple factors to
                 determine an appropriate sample size, the OIG arbitrarily chose a
                 sample size of 100—the same sample size that the OIG has used in
                 at least seven other audits reviewed by Dr. Cox. Choosing a sample
                 size without undertaking any analysis to determine whether the
                 sample size is adequate violates generally accepted statistical
                 principles. It also violates MPIM § 8.4.4.3’s specific directive not to
                 “specify a minimum sample size that applies to all situations.”
           f. The OIG’s selection of an inadequate sample size resulted in an
                 unacceptably high (poor) precision of 45.76% even before the ALJ’s
                 decision. This means that, in the event the Hospice is asked to
                 reimburse more than it has been overpaid, it will be asked to over-
                 reimburse more than four and a half times the amount it would have
                 been asked to reimburse had the precision been a more standard
                 10%. The precision has likely worsened even further since the ALJ’s
                 decision.


COMPLAINT - 24
                                                                     SOKOL        F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1      Filed 04/09/24   Page 25 of 30




               g. For any claim in its sample belonging to a patient with dementia, the
                  OIG reviewed not only that claim but also claims submitted for the
                  same patient during the previous 12-month period. This prevented the
                  sampling units from being independent, which is required for simple
                  random sampling, the type of sampling the OIG used in this case.
       104.   Because of the Defendant’s multiple, serious violations of generally
accepted statistical principles and the MPIM, the Council’s decision should be reversed.
                               FIFTH CLAIM FOR RELIEF
                   VIOLATION OF THE HOSPICE’S DUE PROCESS
                      RIGHTS UNDER THE U.S. CONSTITUTION

    The Prohibition Against Review Violates the Hospice’s Due Process Rights
       105.   The Hospice hereby incorporates by reference paragraphs 1 through 104
herein.
       106.   The Hospice has a protected property interest because it is entitled to
payments for services that met the federal hospice Conditions of Payment.
       107.   Both CMS (through Ruling 86-1) and the Council have acknowledged that
statistical sampling and extrapolation implicate providers’ due process rights.
       108.   The prohibition against administrative and judicial review of HHS’s
determination that there has been a sustained or high level of payment error, as set
forth in Section 1893(f)(3) of the Act and MPIM § 8.4.1.2, deprives the Hospice of an
appropriate level of process. Extrapolation vastly multiplies overpayment estimates—as
well as any unresolved errors the auditor has made. Thus, the Hospice faces a
tremendous risk that it will be erroneously deprived of funds to which it was entitled if
the sole determination that authorizes the extrapolation is unreviewable.
       109.   Therefore, this statutory and agency prohibition against review violates the
Hospice’s due process rights under the U.S. Constitution.


COMPLAINT - 25
                                                                       SOKOL       F LARKIN
                                                                       4380 S Macadam Ave., Suite 530
                                                                             Portland, OR 97239
                                                                               (503) 221-0699
                                                                             FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1     Filed 04/09/24    Page 26 of 30




       110.   Because the prohibition against review violates providers’ due process
rights, this Court should declare that the prohibition against review of the Defendant’s
determination of a high level of payment error, which is set forth in Section 1893(f)(3)
and MPIM § 8.4.1.2, violates the due process clauses of the Fifth and Fourteenth
Amendments of the U.S. Constitution. Moreover, this Court should enjoin the Defendant
from using extrapolation in this case.
  The Decision to Use Extrapolation Violated the Hospice’s Due Process Rights
       111.   The Hospice hereby incorporates by reference paragraphs 1 through 110
herein.
       112.   The Defendant’s decision to use extrapolation violated the Hospice’s due
process rights because the Defendant decided to use extrapolation before making a
determination of a sustained or high level of payment error. In fact, the Defendant never
made such a determination. This decision deprived the Hospice of an appropriate level
of process because it permitted the Defendant to decide to extrapolate for any reason or
for no reason at all. Thus, the Hospice is highly likely to be erroneously deprived of
funds to which it was entitled.
       113.   Because the Defendant decided to extrapolate without making a
determination of a sustained or high level of payment error, this Court should declare
that the Defendant violated the Hospice’s due process rights and should enjoin the
Defendant from using extrapolation in this case.
      The Council’s Decision on a Non-Referred Issue Violated the Hospice’s
                              Due Process Rights

       114.   The Hospice hereby incorporates by reference paragraphs 1 through 113
herein.
       115.   The regulatory command that the Council “limit its consideration of the
ALJ’s…action to those exceptions raised by CMS” in its referral serves as notice to


COMPLAINT - 26
                                                                      SOKOL       F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
          Case 6:24-cv-00603-MC      Document 1     Filed 04/09/24    Page 27 of 30




providers such as the Hospice that the Council will not decide issues that the ALJ
decided that CMS does not raise in the referral.
       116.   By instead deciding an issue not raised in the referral, the Council
deprived the Hospice of an adequate level of process by rendering meaningless a key
administrative procedure requirement. It also disrupted the Hospice’s justified
expectations regarding the resolution of that issue and the validity of the statistical
sampling and extrapolation. As a result, the Hospice was at great risk of being
erroneously deprived of funds to which it was entitled.
       117.   Because the Council issued a decision on a non-referred issue, this Court
should declare that the Defendant violated the Hospice’s due process rights and should
reverse the Council’s decision that the sampling and extrapolation were valid.
      The Exclusion of Claims Paid Less than $1,000 Violated the Hospice’s
                              Due Process Rights

       118.   The Hospice hereby incorporates by reference paragraphs 1 through 117
herein.
       119.   The Defendant’s exclusion of all claims paid less than $1,000 violated the
Hospice’s due process rights. Excluding such claims serves no purpose other than to
artificially inflate the overpayment estimate, placing the Hospice at tremendous risk of
being erroneously deprived of funds to which it was entitled.
       120.   Because the Defendant wrongfully excluded claims paid less than $1,000
from the sampling frame, this Court should declare that the Defendant violated the
Hospice’s due process rights and reverse the Council’s decision that the sampling and
extrapolation were valid.
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COMPLAINT - 27
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
          Case 6:24-cv-00603-MC     Document 1     Filed 04/09/24   Page 28 of 30




      Including Claims Outside the Reopening Period Violated the Hospice’s
                              Due Process Rights

       121.   The Hospice hereby incorporates by reference paragraphs 1 through 120
herein.
       122.   The regulatory limit on a CMS contractor’s authority to reopen claims more
than four years after the initial determination serves as notice to providers such as the
Hospice that the Defendant will not disturb old claims.
       123.   However, by applying statistical sampling and extrapolation to a universe
that included claims outside the regulatory reopening period and demanding payment
for such claims, the Defendant deprived the Hospice of an adequate level of process
and disrupted the Hospice’s justified expectations regarding how long they are liable for
old claims. Administrative delay is no excuse: If auditors have trouble conducting audits
within four years, they can take many steps to address the problem (e.g., choose
shorter audit periods, perform fewer audits) that do not violate providers’ due process
rights. Under the circumstances, however, the Hospice was at great risk of being
erroneously deprived of funds to which it was entitled.
       124.   Because the Council applied statistical sampling and extrapolation to a
universe that included claims outside the regulatory reopening period and demanded
payment for such claims, this Court should declare that the Defendant violated the
Hospice’s due process rights and should reverse the Council’s decision that the
sampling and extrapolation were valid.
              The Multiple Fatal Statistical Errors Violated the Hospice’s
                                  Due Process Rights

       125.   The Hospice hereby incorporates by reference paragraphs 1 through 124
herein.
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COMPLAINT - 28
                                                                      SOKOL       F LARKIN
                                                                      4380 S Macadam Ave., Suite 530
                                                                            Portland, OR 97239
                                                                              (503) 221-0699
                                                                            FAX (503) 223-5706
        Case 6:24-cv-00603-MC        Document 1     Filed 04/09/24    Page 29 of 30




       126.   The Defendant’s failure to adhere to generally accepted statistical
principles and its own guidance, the MPIM, violated the Hospice’s due process rights.
       127.   The Defendant decided to extrapolate without determining that there was
a high level of payment error, ensured an artificially inflated overpayment by excluding
claims paid less than $1,000, included claims that were not statistically independent,
chose the sample size arbitrarily and without undertaking any analysis, used a
statistically invalid sample (i.e., not a probability sample), and then used the results to
perform the unauthorized extrapolation the Defendant had planned to use from the
beginning. Under any one of these circumstances, the Hospice’s risk of being
erroneously deprived of funds to which it was entitled was terribly high.
       128.   As a result of the Defendant’s many fatal failures to adhere to generally
accepted statistical principles and the MPIM, this Court should declare that the
Defendant violated the Hospice’s due process rights and reverse the Council’s decision
that the sampling and extrapolation were valid.
                                   PRAYER FOR RELIEF
       WHEREFORE, the Hospice respectfully requests that this Court:
       A. Reverse the Council’s decision that the sampling and extrapolation were
          valid;
       B. Declare that extrapolation was statutorily unauthorized in this case;
       C. Enjoin the Defendant from using extrapolation in this case;
       D. Declare that Section 1893(f)(3)’s prohibition against review of the Defendant’s
          determination of a high level of payment error violates the due process
          clauses of the Fifth and Fourteenth Amendments of the U.S. Constitution;
       E. Declare that the Defendant violated the Hospice’s due process rights under
          the U.S. Constitution;
       F. Find that the Council erred in upholding the ALJ’s unfavorable determinations;


COMPLAINT - 29
                                                                       SOKOL        F LARKIN
                                                                        4380 S Macadam Ave., Suite 530
                                                                              Portland, OR 97239
                                                                                (503) 221-0699
                                                                              FAX (503) 223-5706
      Case 6:24-cv-00603-MC       Document 1     Filed 04/09/24    Page 30 of 30




     G. Hold that the Defendant’s position was not substantially justified;
     H. Award the Hospice attorney fees under the Equal Access to Justice Act; and
     I. Grant the Hospice any other legal or equitable relief that the Court may deem
        just and proper.
     DATED this 9th day of April, 2024.

                                          SOKOL, LARKIN, WAGNER & STORTI LLC


                                          By: /s/ Tyler J. Storti
                                                Tyler J. Storti, OSB #034695
                                                tstorti@sokol-larkin.com
                                                Attorneys for Plaintiff Partners in Care,
                                                Inc.

                                          HUSCH BLACKWELL LLP


                                          By: /s/ Bryan K. Nowicki
                                                Bryan K. Nowicki, Pro Hac Vice
                                                Forthcoming
                                                Bryan.nowicki@huschblackwell.com
                                                Attorneys for Plaintiff Partners in Care,
                                                Inc.




COMPLAINT - 30
                                                                     SOKOL       F LARKIN
                                                                     4380 S Macadam Ave., Suite 530
                                                                           Portland, OR 97239
                                                                             (503) 221-0699
                                                                           FAX (503) 223-5706
